
PER CURIAM.
The record in this case indicates that Appellant was denied the right to present a closing argument during her delinquency hearing. We, therefore, reverse the circuit court’s disposition order and remand this cause for a new adjudicatory hearing. T. McD. v. State, 607 So.2d 513 (Fla. 2d DCA 1992); M.E.F. v. State, 595 So.2d 86 (Fla. 2d DCA 1992); E.C. v. State, 588 So.2d 698 (Fla. *1123d DCA 1991); E.V.R. v. State, 342 So.2d 93 (Fla. 3d DCA 1977).
STONE, PARIENTE and SHAHOOD, JJ., concur.
